      Case 6:17-cv-06061-CJS-MWP Document 73 Filed 08/06/18 Page 1 of 9



                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF NEW YORK



   THE ESTATE OF STANLEY KAUFFMANN,

                                                            Plaintiff,

                                 -vs-

   ROCHESTER INSTITUTE OF TECHNOLOGY,

                                                      Defendant.         DECISION & ORDER

                                                                         17-CV-6061-CJS-MWP
   ROCHESTER INSTITUTE OF TECHNOLOGY,

                                   Third Party Plaintiff,

                                 -vs-

   ROBERT J. CARDULLO,

                                   Third Party Defendant.


                                           APPEARANCES

For Plaintiff/Third Party Plaintiff:                   Kenneth P. Norwick, Esq.
                                                       Norwick Schad & Goering
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For Third Party Defendant:                             In Default
        Case 6:17-cv-06061-CJS-MWP Document 73 Filed 08/06/18 Page 2 of 9



                                          INTRODUCTION
        Siragusa, J. This copyright infringement case is before the Court on the Plaintiff’s and

Defendant’s cross-motions for summary judgment. Def.’s Mot. for Summary J., Dec. 4, 2017,

ECF No. 52; Pl.’s Mot. for Summary J., Jan. 12, 2018, ECF No. 58. Defendant Rochester Insti-

tute of Technology (“RIT”) has previously obtained a default against third party defendant

Robert J. Cardullo. Clerk’s Entry of Default, May 16, 2017, ECF No. 40. This case was originally

filed in the Southern District of New York and by Memorandum and Order entered on January

20, 2017, ECF No. 25, was transferred to this Court. For the reasons stated below, the Court

grants RIT’s motion for summary judgment, ECF No. 52, with respect to The Estate’s copyright

infringement claim and Kauffmann’s cross-motion for summary judgment, ECF No. 58, is de-

nied.

                                          BACKGROUND
        Plaintiff Stanley Kauffmann (“Kauffmann”) was an author of numerous movie reviews

primarily for THE NEW REPUBLIC, “an independent journal of opinion promoting novel solutions

to the challenges of our time,” and founded in 1914, with its principle office in New York City.

About, THE NEW REPUBLIC (https://newrepublic.com/pages/about) accessed on Jul. 24, 2018.

        At issue in this case is the republication of 141 of those reviews in a book authored by

third party defendant Robert J. Cardullo (“Cardullo”) and published by an entity belonging to

RIT. The book is entitled The Millennial Critic: Stanley Kauffmann on Film: 1999-2009. The

Estate of Stanley Kauffmann (“the Estate”) claims that 44 of those reviews violated Kauff-

mann’s copyright in them.1 RIT claims that Kauffmann did not own the copyright to those

works in Cardullo’s book, since he and THE NEW REPUBLIC agreed in 2004 that all the reviews


        1The Estate would have pursued claims on all 141 articles, but only 44 of them are registered,
a prerequisite for suit. 17 U.S.C. § 412.
                                                 -2-
      Case 6:17-cv-06061-CJS-MWP Document 73 Filed 08/06/18 Page 3 of 9



Kauffman wrote for the journal were a “work made for hire” as defined in the Copyright Act of

1976. 17 U.S.C. § 101.

       The complaint lists the 44 allegedly infringing articles written by Kauffman as follows:

   1. “Shakespeare in Love”                            23. “American Beauty”·
   2. “Hurlyburly”                                     24. ”Breakfast of Champions”·
   3. “The Thin Red Line”                              25. “Jakob the Liar”
   4. “Affliction”                                     26. “Three Kings”
   5. “Private Confessions”                            27. “The Straight Story”
   6. “Dr. Akagi”                                      28. “Bringing Out the Dead”
   7. “The Children of Heaven”                         29. “Rosetta”
   8. “The Dreamlife of Angels”                        30. “The Insider”
   9. “Devil’s Island”                                 31. “Ride with the Devil”
   10. “EdTV”                                          32. “Sweet and Lowdown”
   11. “The Winslow Boy”                               33. “The End of the Affair”
   12. “A Midsummer’s Night’s Dream”                   34. “Natural Born Killers”
   13. “Tea with Mussolini”                            35. “Grand Illusion”
   14. “Star Wars”                                     36. “D’Artagnan’s Daughter”
   15. “Besieged”                                      37. “Greed”
   16. “Eternity and a Day”                            38. “Photographer”
   17. “An Ideal Husband”                              39. “Close Up 1927-1933”
   18. “Autumn Tale”                                   40. “Projections 9”
   19. “My Son the Fanatic”                            41. “The Death of Film”
   20. “The Gambler”                                   42. “American Film Audiences”
   21. “Lucie Aubrac”·                                 43. “Stanley Kubrick”2
   22. “West Beirut”·                                  44. “Marcello Mastroianni.”


Compl. ¶ 7. Although the complaint does not state when the articles were published by THE

NEW REPUBLIC, RIT states in its memorandum of law that the 2004 letter signed by Kauffmann

and his editor at the paper, “although dated after the articles at issue were first published by

THE NEW REPUBLIC in 1999, demonstrates that the parties intended, even prior to creation of

the articles, that they were ‘works made for hire.’” RIT’s Mem. of Law 7, Dec. 4, 2017, ECF

No. 52-16.


       2 Possibly a reference to “Kubrick: A Sadness,” by Stanley Kauffmann in The New Republic
(Aug. 16, 1999), available at https://newrepublic.com/article/131189/kubrick-sadness (last ac-
cessed Jul. 23, 2018).
                                              -3-
      Case 6:17-cv-06061-CJS-MWP Document 73 Filed 08/06/18 Page 4 of 9



                                       STANDARD OF LAW
       Summary judgment may not be granted unless Athe pleadings, depositions, answers

to interrogatories, and admissions on file, together with the affidavits, if any, … demonstrate

the absence of a genuine issue of material fact,” Celotex Corp. v. Catrett, 477 U.S. 317, 323

(1986), and “the movant is entitled to judgment as a matter of law,” Fed. R. Civ. P. 56(a)

(2015). “In moving for summary judgment against a party who will bear the ultimate burden

of proof at trial, the movant may satisfy this burden by pointing to an absence of evidence to

support an essential element of the nonmoving party’s claim.@ Gummo v. Village of Depew,

75 F.3d 98, 107 (2d Cir. 1996) (citation omitted).

       The burden then shifts to the non-moving party to demonstrate specific facts showing

that there is a genuine issue for trial. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250

(1986). To do this, the non-moving party must present evidence sufficient to support a jury

verdict in its favor. Id. at 249. A[F]actual issues created solely by an affidavit crafted to oppose

a summary judgment motion are not >genuine= issues for trial.@ Hayes v. N.Y. City Dep’t of

Corr., 84 F.3d 614, 619 (2d Cir. 1996). Summary judgment is appropriate only where, Aafter

drawing all reasonable inferences in favor of the party against whom summary judgment is

sought, no reasonable trier of fact could find in favor of the non-moving party.@ Leon v. Mur-

phy, 988 F.2d 303, 308 (2d Cir. 1993). The parties may only carry their respective burdens

by producing evidentiary proof in admissible form. Fed. R. Civ. P. 56(c)(1). The underlying facts

contained in affidavits, attached exhibits, and depositions, must be viewed in the light most

favorable to the non-moving party. United States v. Diebold, Inc., 369 U.S. 654, 655 (1962).

                                           DISCUSSION

       The facts are mostly undisputed; however, the inferences to be drawn from them are

highly disputed. The Estate’s claim of infringement, and RIT’s defense, rely principally on the
                                                -4-
        Case 6:17-cv-06061-CJS-MWP Document 73 Filed 08/06/18 Page 5 of 9



letter revealed in discovery that was sent by Leon Wieseltier, Literary Editor of THE NEW REPUB-

LIC   to Stanley Kauffman, dated March 22, 2004. Because of the letter’s central importance

to the resolution of the motion and cross motion for summary judgment, the Court will quote

it in its entirety:

         March 22, 2004

         Stanley Kauffmann
         Penthouse C
         10 West 15th Street
         New York, NY ·10011

         Dear Stanley,

         Like many publishing companies, The New Republic is working to expand into
         the web and related technologies, and in so doing, afford you maximum expo-
         sure. We’ve had a wonderful relationship with you over the years and see this
         expansion as a great opportunity to further promote you and your talents for
         our mutual benefit. Recent Supreme Court decisions have made it necessary
         that we explicitly confirm the terms under which you write for The New Republic.

         Thus, in the interest of responsibly managing our business, we are making ef-
         forts to memorialize in writing all of our agreements with our writers, including
         freelance contributors. Our agreement with you has always been an oral under-
         standing, and among other things we do want to ensure that we are not violat-
         ing your rights in any way. To that end, we’d like to confirm with you our under-
         standing, of our past relationship with you, as well as our relationship with you
         and your contributions to The New Republic going forward.

         We have always understood that you have been writing articles for The New
         Republic as a freelance contributor. We have also always understood in doing
         business with you that, in light of our regular monthly compensation arrange-
         ment with you, all articles you have written for The New Republic have been
         “works made for hire,” as that term is defined under the US Copyright laws.
         We’d like to confirm with you that the above understanding of our business
         relationship with you is correct, but also that the above understanding will re-
         main in effect as to any future articles you write for The New Republic, unless
         and until we and you both agree otherwise in writing.

         Please acknowledge your agreement with us about this by so indicating with
         your signature below.




                                               -5-
      Case 6:17-cv-06061-CJS-MWP Document 73 Filed 08/06/18 Page 6 of 9



       Many thanks,                        Date: March 24, 2004

       Sincerely,                          Agreed:    ✓

       /s/ Leon Wieseltier                 Author Signature: /s/ Stanley Kauffmann

       Leon Wieseltier
       Literary Editor


Letter from Leon Wieseltier to Stanley Kauffmann (Mar. 22, 2004) attached to Myer Decl. as

Ex. A, ECF No. 52-15 (“letter agreement”). The parties agree that the letter on its face is a

contract and that Kauffmann signed the agreement in the space provided.

       RIT relies heavily on the letter to establish that Kauffmann’s reviews written for THE

NEW REPUBLIC were works for hire. The Copyright Act of 1976 defines a “work made for hire”

as “a work specially ordered or commissioned for use as a contribution to a collective work…,

if the parties expressly agree in a written instrument signed by them that the work shall be

considered a work made for hire.” 17 U.S.C. § 101. It defines a “collective work” as “a work,

such as a periodical issue…, in which a number of contributions, constituting separate and

independent works in themselves, are assembled into a collective whole.” Id. The Copyright

Act further states that:

       In the case of a work made for hire, the employer or other person for whom the
       work was prepared is considered the author for purposes of this title, and, un-
       less the parties have expressly agreed otherwise in a written instrument signed
       by them, owns all of the rights comprised in the copyright.


17 U.S.C. § 201(b). RIT therefore argues that as works made for hire, the articles published

by it in Cardullo’s book do not infringe any copyright owned by Kauffmann, or the Estate.

       The Estate attacks the letter agreement on a number of fronts: the fact that agreement

encompassed works authorized by Kaufmann over a 46 year period; the fact that THE NEW

REPUBLIC gave to Kaufmann the copyrights for works published under the 1909 Copyright Act;
                                            -6-
      Case 6:17-cv-06061-CJS-MWP Document 73 Filed 08/06/18 Page 7 of 9



an affidavit from the letter’s author stating he did not understand the phrase “works made

for hire”; an affidavit from a close friend of Kauffmann’s stating, inter alia, that Kauffmann

believed he owned the copyright to all his writings; evidence that Kauffmann licensed his

writings that had been published in THE NEW REPUBLIC to others; and arguments that Kauff-

mann, at age 88 at the time of the letter, with a sick wife, trusted his editor, Leon Wieseltier,

and would have signed anything requested, even without understanding the ramifications.

Significantly, at oral argument, both sides agreed that the letter was on its face a contract and

that New York law controlled.

       However, neither side ever addressed what the Court would characterize as the “ele-

phant in the room,” the parol evidence rule. The 2004 letter agreement purports to memori-

alize in writing a preexisting oral contract, evidently dating back to when Kauffmann started

writing for THE NEW REPUBLIC in 1958. On its face, it is unambiguous. Both parties agree that

since he started writing for the journal, “all articles [he has] written for The New Republic have

been ‘works made for hire,” as that term is defined under the US Copyright laws.” Letter at 1.

By signing the letter, and checking the line “agreed,” Kauffmann assented to that understand-

ing. Therefore, on its face, the letter contains all the terms necessary for a contract: offer,

acceptance, consideration, mutual assent, and an intent to be bound. See Kavitz v. IBM, 458

Fed. Appx. 18, 19 (2d Cir. 2012) (“To establish the existence of an enforceable agreement

under New York law, which the parties agree applies here, there must be ‘an offer, acceptance

of the offer, consideration, mutual assent, and an intent to be bound.’ Civil Serv. Employees

Ass’n, Inc. v. Baldwin Union Free Sch. Dist., 84 A.D.3d 1232, 924 N.Y.S.2d 126, 128 (2d

Dep’t 2011) (internal quotation marks omitted)).




                                               -7-
      Case 6:17-cv-06061-CJS-MWP Document 73 Filed 08/06/18 Page 8 of 9



       Viewing the Letter as a contract, and having found that its terms are unambiguous,

the Estate’s submission of extrinsic evidence regarding the Letter is admissible only if it is

permitted under the parol evidence rule. That rule is well established under New York law:

       [A]bsent fraud or mutual mistake, where the parties have reduced their agree-
       ment to an integrated writing, the parol evidence rule operates to exclude evi-
       dence of all prior or contemporaneous negotiations between the parties offered
       to contradict or modify the terms of their writing. (Fogelson v. Rackfay Constr.
       Co., 300 N.Y. 334, 90 N.E.2d 881; Thomas v. Scutt, 127 N.Y. 133, 27 N.E.
       961.) Although at times this rule may seem to be unjust, “on the whole it works
       for good” (Mitchill v. Lath, 247 N.Y. 377, 380, 160 N.E. 646) by allowing a party
       to a written contract to protect himself from “perjury, infirmity of memory or the
       death of witnesses.” (Thomas v. Scutt, 127 N.Y. 133, 142, 27 N.E. 961, supra;
       see, generally, Richardson, Evidence [10th ed.], §§ 601–634.)


Marine Midland Bank-S. v. Thurlow, 53 N.Y.2d 381, 389 (1981). In a case relied upon by both

parties, the district court addressed a situation where the terms of the agreement (proved

only by an endorsement on a payment check) were not always clear. In that case, the district

court held that “there should be evidence of the oral agreement which the one-line written

statement memorializes.” Playboy Enterprises, Inc. v. Dumas, 831 F. Supp. 295, 308

(S.D.N.Y.), opinion modified on reargument, 840 F. Supp. 256 (S.D.N.Y. 1993), and aff’d in

part, rev’d in part, 53 F.3d 549 (2d Cir. 1995). No such problem is present here. The 2004

letter sets out the agreement clearly and, unlike the Playboy case, uses the term of art in the

Copyright Act: “work[s] made for hire.”

       Moreover, The Estate has failed to come forward with case law that supports its argu-

ments that the 44 articles at issue first published in 1999 were not, as a matter of law, works

for hire solely because the agreement purportedly memorialized a preexisting understanding

going back 46 years.




                                              -8-
      Case 6:17-cv-06061-CJS-MWP Document 73 Filed 08/06/18 Page 9 of 9



                                         CONCLUSION

       Based on the foregoing, RIT’s motion for summary judgment, ECF No. 52, is granted

with respect to The Estate’s copyright infringement claim on the 44 registered articles repro-

duced in the book The Millennial Critic: Stanley Kauffmann on Film: 1999-2009” and detailed

above in the Background section of this decision. Kauffmann’s cross-motion for summary

judgment, ECF No. 58, is denied. The Clerk is directed to enter judgment for RIT. RIT may have

until September 30, 2018, to move for a default judgment against third party defendant Car-

dullo. If no such motion is made by then, the Clerk is directed to close this case.

       IT IS SO ORDERED.

Dated: August 6, 2018
       Rochester, New York

                      ENTER:
                                            /s/ Charles J. Siragusa
                                            CHARLES J. SIRAGUSA
                                            United States District Judge




                                              -9-
